                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                              SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
                                Plaintiff,          )
                                                    )
              v.                                    )     No. 18-5044-01-CR-S-SRB
                                                    )
JEREMY LYNN ORR,                                    )
                                                    )
                                Defendant.          )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count 3 of the

Indictment filed on November 8, 2018, is now Accepted and the Defendant is Adjudged Guilty of

such offense. Sentencing will be set by subsequent Order of the Court.




                                             /s/   Stephen R. Bough     __
                                             STEPHEN R. BOUGH
                                             UNITED STATES DISTRICT JUDGE



Date: June 20, 2019




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